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                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

AMERICAN GENERAL LIFE                           )
INSURANCE COMPANY,                              )
                                                )
             Interpleader-Plaintiff,            )       No. 1:22-CV-04422
                                                )
      v.                                        )
                                                )      Judge Edmond E. Chang
WHITNEY MARTIN, SPECIAL                         )
ADMINISTRATOR OF THE ESTATE,                    )
OF JEAN ROBERT SAINTILUS;                       )
MARIE ORACIN; JAZZ SAINTILUS;                   )
JORDAN SAINTILUS; J.D., through her             )
Guardian NATASHA DUNN; and                      )
KALEB SAINTILUS,                                )
                                                )
             Claimant-Defendants.               )

                         MEMORANDUM OPINION AND ORDER

      Jean Robert Saintilus purchased a life insurance policy in 2005 from American

General Life Insurance Company. R. 1, Compl. at 3; R. 1-2, Compl. Exh. B.1 He named

his then-wife, Marie Oracin, as the policy’s beneficiary—but the couple divorced in

2006. R. 1-1, Compl. Exh. A at 3; R. 56, DSOF Exh. A. After Saintilus passed away in

2022, Oracin submitted a claim to collect the policy’s death benefit. R. 1-4, Compl. Ex.

D. But Saintilus’s children from other relationships also submitted claims. R. 1-7,

Compl. Ex. G. American General then filed a complaint for interpleader relief, asking

the Court to decide which claimant is entitled to the benefit.2 Compl. at 5–7.


      1Citations to the record are “R.” followed by the docket entry number and, if needed,

a page or paragraph number.

      2The Court has jurisdiction over this suit under the interpleader statute, 28 U.S.C.

§ 1335(a)(1), because the disputed funds exceed $500 and two or move or the adverse clients
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       Oracin now moves for summary judgment, arguing that the Illinois revocation-

by-divorce statute, 750 ILCS 5/503(b-5), does not apply retroactively and thus does

not terminate her status as the named beneficiary. R. 54, Oracin’s Mot. at 1; R. 55,

Oracin’s Br. at 1. Because the Court agrees with Oracin and concludes that she is

entitled to the policy’s death benefit, her motion for summary judgment is granted.

                                     I. Background

       In 2005, Jean Robert Saintilus purchased a life insurance policy with a death

benefit of $100,000 from American General Life Insurance Company. Compl. at 3;

Compl. Exh. B. Saintilus named Marie Oracin—his wife at the time—as the benefi-

ciary of the policy. Compl. Exh. A at 3. Saintilus and Oracin divorced in 2006, but

Saintilus never removed Oracin as the policy’s beneficiary. DSOF Exh. A; Compl.

¶¶ 17, 19; R. 26, Oracin Ans. ¶¶ 17, 19. After Saintilus died in early 2022, Oracin

submitted a claim to collect the insurance policy’s death benefit. Compl. Exh. D. How-

ever, Saintilus’s children—Jazz, Jordan, and J.D. (who were born to mothers other

than Oracin)—all submitted competing claims, Compl. Exh. G, and another child of

Saintilus, Kaleb, later filed a claim as well, R. 17, 23.

       American General then filed a complaint for interpleader relief, explaining

that it does not know which claimant is entitled to the death benefit. Compl. at 5–7.

It noted that if Illinois’s revocation-by-divorce statute applies, then Oracin and

Saintilus’s divorce invalidated Oracin’s status as the policy beneficiary. Id. at 5. But



are of diverse citizenship, namely, Marie Oracin is a citizen of Rhode Island and is adverse
to the three other claimants, who are Illinois citizens, R. 1, ¶¶ 3–6.
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American General could not determine whether this statute, which became effective

in 2019, applies retroactively to Oracin and Saintilus’s 2006 divorce. Id. Oracin now

moves for summary judgment, arguing that the statute does not apply retroactively,

entitling her to the full death benefit. Oracin Mot. at 1; Oracin Br. at 1.

                                      II. Analysis

       The Illinois revocation-by-divorce statute generally provides that a divorce ren-

ders ineffective any prior designation of the insured’s (now-former) spouse as the ben-

eficiary of a policy:

       (2) If a judgment of dissolution of marriage is entered after an insured has
       designated the insured’s spouse as a beneficiary under a life insurance policy
       in force at the time of entry, the designation of the insured’s former spouse as
       beneficiary is not effective unless:

              (A) the judgment designates the insured’s former spouse as the
                  beneficiary;

              (B) the insured redesignates the former spouse as the beneficiary after
                  entry of the judgment; or

              (C) the former spouse is designated to receive the proceeds in trust for,
              on behalf of, or for the benefit of a child or a dependent of either former
              spouse.

       (3) If a designation is not effective under paragraph (2), the proceeds of the
       policy are payable to the named alternative beneficiary or, if there is not a
       named alternative beneficiary, to the estate of the insured.

750 ILCS 5/503(b-5)(2), (3).

       Here, Saintilus designated Oracin as the insurance policy’s beneficiary in 2005,

a year before they divorced. Compl. Exh. A at 3; DSOF Exh. A. And none of the

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statute’s exceptions apply. The divorce judgment did not designate Oracin as the ben-

eficiary; Saintilus did not redesignate her as the beneficiary after the divorce was

finalized; and Oracin was not designated to receive the death benefit on behalf of a

child or dependent. See DSOF Exh. A; Compl. ¶ 19. So under the statute, Oracin’s

beneficiary designation would not be effective. And because Saintilus did not name

an alternative beneficiary, the death benefit would go to his estate.

      But the revocation-by-divorce statute was passed in 2018, became effective in

2019, and has no provision discussing retroactivity. See 750 ILCS 5/503(b-5). So to

resolve the competing claims to the death benefit, the key question is whether the

statute applies retroactively.

      It does not. Under Illinois law, if a statute does not contain a provision address-

ing retroactive application, as is the case here, then the rule is that statutes “that are

procedural in nature may be applied retroactively, while those that are substantive

may not.” Caveney v. Bower, 797 N.E.2d 596, 602 (Ill. 2003). And “[i]f a rule affects

only the remedy available and not the substantive rights of the parties, it is consid-

ered procedural.” Midwest Grain Prods. of Ill., Inc. v. Productization, Inc., 228 F.3d

784, 792 (7th Cir. 2000) (cleaned up).3 On the other hand, statutes that impact par-

ties’ contractual or property rights are substantive, and there is a “presumption

against statutory retroactivity” because “predictability and stability are of prime



      3This Opinion uses (cleaned up) to indicate that internal quotation marks, alterations,

and citations have been omitted from quotations. See Jack Metzler, Cleaning Up Quotations,
18 Journal of Appellate Practice and Process 143 (2017).

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importance” in those contexts. Landgraf v. USI Film Prods., 511 U.S. 244, 271

(1994).4

       Oracin contends that the Illinois revocation-by-divorce statute is substantive

because it impacts parties’ contractual rights to receive death benefits from insurance

policies. Oracin Br. at 4. Saintilus’s children offer no response to this argument. R. 60,

Children’s Br. at 3–4. So the children have forfeited the point, and judgment could be

entered for Oracin based on the forfeiture alone. In any event, on an independent

analysis, the Court would hold that the Illinois statute is indeed substantive and thus

cannot apply retroactively. The statute invalidates the designation of certain former

spouses as life insurance beneficiaries. Because the former spouses would otherwise

have been entitled to collect the policies’ death benefits, the application of the statute

thus strips them of their contractual and property rights to those payments. And be-

cause the statute overrides policyholders’ decisions to name their former spouses as

policy beneficiaries, it alters the parties’ contractual decisions and rights. The revo-

cation-by-divorce statute thus affects parties’ substantive rights and does not apply

retroactively to Oracin.

       The children’s only argument is not directed at the statute, but instead they

argue that Oracin’s marriage to Saintilus was a “sham,” meant to help Oracin get

U.S. citizenship. Children’s Br. at 3–5. They assert that Oracin should thus not be

allowed to benefit from her criminal conduct. Id. But the children offer no evidence


       4The Illinois Supreme Court has adopted Landgraf as the governing test for Illinois

statutes. Commonwealth Edison Co. v. Will Cnty. Collector, 749 N.E.2d 964, 972 (Ill. 2001).

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whatsoever to support this contention. See id. at 1–5. Even though discovery was

opened to allow the gathering of evidence, the children offer none.

       Finally, it is worth noting that the U.S. Supreme Court relatively recently did

consider state revocation-by-divorce statutes in Sveen v. Melin, 584 U.S. 811 (2018).

But that decision held only that retroactive application of that type of statute does

not violate the Contracts Clause of the Constitution. Id. at 813. The Supreme Court

concluded that these statutes can be applied retroactively—but did not address the

question in this case, that is, whether the Illinois statute does apply retroactively. Id.

So Sveen has no application to this case. Here, the Illinois revocation-by-divorce stat-

ute does not apply retroactively to Oracin’s divorce, leaving her as the named benefi-

ciary of the life insurance policy. Oracin is entitled to the death benefit, and her mo-

tion for summary judgment is granted.

                                    III. Conclusion

       The Court grants Marie Oracin’s motion for summary judgment, R. 54. She is

entitled to the interpleader funds, and a declaratory judgment shall be entered to

that effect.

                                                       ENTERED:



                                                             s/Edmond E. Chang
                                                       Honorable Edmond E. Chang
                                                       United States District Judge

DATE: December 3, 2024



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